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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

Anita Carter,

                Plaintiff,
v.
                                                               CASE NO: 4:23-cv-1132-SDJ-KPJ
Experian Information Solutions, Inc., et al

            Defendant(s).
__________________________________________/


      JOINT STIPULATION OF DISMISSAL WITH PREJUDICE AS TO EQUIFAX
                      INFORMATION SERVICES, LLC.


         NOW COME Plaintiff Anita Carter ("Plaintiff") and Equifax Information Services, LLC.

(“Equifax”), by and through their undersigned counsel, and hereby jointly request that this Court

dismiss, with prejudice, each claim and count therein asserted by Plaintiff against Equifax only in

the above-styled action, with Plaintiff and Equifax to bear their own fees, costs and expenses.

         This Joint Stipulation does not impact Plaintiff’s claims against any other defendant.

         Respectfully submitted this April 15, 2024.




 /s/Jonathan Raburn                                 /s/ Jibril Greene
 Jonathan Raburn                                    Jibril Greene, Bar No. 24093774
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                                                    Equifax Information Services LLC



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                              CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on the 15th of April 2024, I electronically filed the foregoing
with the Clerk of Court using CM/ECF, which will serve a copy of the aforesaid via Notice of
Electronic Filing upon all parties of record.


                                              /s/ Jonathan Raburn
                                              Attorney for Plaintiff




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